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 5   Attorney for Defendant
     NOE VILLASENOR PIEDRA
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                   IN THE UNITED STATES DISTRICT COURT
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                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            Case No.: 07-CR-00095 OWW
13                        PLAINTIFF,
                                                          STIPULATION AND ORDER TO
14                                                        CONTINUE SENTENCING
15   NOE VILLASENOR PIEDRA ,
16                                 DEFENDANT.
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE: OLIVER
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     W. WANGER AND KAREN ESCOBAR, ASSISTANT UNITED STATES ATTORNEY:
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             COMES NOW Defendant, NOE VILLASENOR PIEDRA by and through his attorney
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     of record, DAVID A. TORRES hereby requesting that the sentencing hearing currently set for
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     March 30, 2009 be continued to April 20, 2009 at 9:00 a.m., or a date convenient to court and
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     counsel.
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             This is a mutual request between Assistant United States Attorney, Karen Escobar and is
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     joined by counsel for the defendant.
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             On Monday, March 30, 3009, I am scheduled to commence trail on a felony homicide
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     case.
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     Based upon the foregoing, I respectfully request that this matter be continued to April 20, 2008.
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               Case 1:07-cr-00095-LJO Document 123 Filed 03/26/09 Page 2 of 3


 1           The parties also agree that the delay resulting from the continuance shall be excluded in
 2   the interest of justice pursuant to 18 U.S.C. §3161 (h)(8)(A) and §3161 (h)(8)(B)(I).
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 4
 5   Dated: March 26, 2009                                          /s/ David A. Torres
                                                                    DAVID A. TORRES
 6                                                                  Attorney for Defendant
                                                                     NOE VILLASENOR PIEDRA
 7
 8                                                                  McGREGOR W. SCOTT
                                                                    United States Attorney
 9
     Dated: March 26, 2009                                          By /s/ Karen Escobar
10                                                                  KAREN ESCOBAR
                                                                    Assistant U.S. Attorney
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28   Stipulation and Proposed Order to Continue Status Conference    2
               Case 1:07-cr-00095-LJO Document 123 Filed 03/26/09 Page 3 of 3


 1                                                     ORDER
 2           IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
 3   §3161(h)(8)(A) and §3161 (h)(8)(B)(i).
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11                                                                           IT IS SO ORDERED.
12   Dated: March 26, 2009                                  /s/ Oliver W. Wanger
     emm0d6                                            UNITED STATES DISTRICT JUDGE
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28   Stipulation and Proposed Order to Continue Status Conference   3
